Case 1:23-cv-07950-BMC Document 10 Filed 11/16/23 Page 1 of 3 PageID #: 46
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   ,\' +4ti I Rev. €1f>/12)Sulnlnons in a Civil Action
     >
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                                         iTNnFg=                        for the
                                                            Eastern District of New York

                       NANCY PIERRE                                       )




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                            lltaitlt il-fIs)                              )




                                                                          )

                                  V                                               Civil Action No. 23-cv-7950
                                                                          )



   RIGHT PRICE GENERAL CONSTRUCTION CORP.;
                                                                              )


      BROWN POiNT FACILITIES MANAGEMENT
      SOLUTIONS. LLC; and DWIGHT SIBBLIES,
                                                                          )




                                                                              >

                          individually .
                                                                              )




                           I)ejendautt s )                                )




                                                        SUMMONS IN A CIVIL ACTION

   II): {l)ele'lda'll k „a„le and address) agE iFRs:::LLrl E:enue
                                               Bronx, New York 10466




            A lawsuit has been flled against you.

            Within 21 days after service of this summons on you (not counting the day you received it) – or 60 days if you
   are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
   P. 12 (a)(2) or (3) – you must serve on the plaintiff an answer to the attached complaint or a motion under Rule ! ! of
   the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintifFs attorney.
   whose name and address are: _ . . . .                .


                                   Robert HaBpern
                                   18 W. Gowen Avenue
                                   Philadelphia, PA 191 19




            If you fail to respond. judgment by default will be entered against you for the relief demanded in the complaint.
   You also must file your answer or motion with the court.

                                                                                     BRENNA B. MAHONEY
                                                                                     (' LERK OF (’oURT


                                                                                              RaieaIIII Grtzzl
   Date .        10/30/2023
                                                                                                Signature of Clerk or Deputy Clerk




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           Case 1:23-cv-07950-BMC Document 10 Filed 11/16/23 Page 2 of 3 PageID #: 47

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 1      :13:iiinBR
                                                            PROOF OF SERVICE
                    (This section should not be $1ed with the court unless required by Fed. R. civ. P. 4 (i))

          ThIS summons for (name of individual arId M& fany)             Dwight Sibblies
was received by me on (dale)                      1 1/03/2023



          II I personally served the summons on the individual at (plac,)
                                                                                   on (date)                                     ; or

          d 1 lea the summons at the individual’s residence or usual place of abode with r„„„d                           Renae Sibblies. wife
                                                                  , a person of suitable age and discretion who resides there,

          on (dale>          1 1/1 5/2023          , and mailed a COpy to the individual’s last known address; or

          n    I served the summons on (name of individual)                                                                                , who is
           designated by law to accept service of process on behalf of („,m,e of .„g'„i,ati.„,)
                                                                                   on (date)                                     ; or

          D I returned the summons unexecuted because                                                                                           ; or

          []   Other (specify) :




          My fees are $                0           for travel and $        75.00       for services, for a total of $                   75.00


          I declare under penalty of perjury that this information is true.


Date:          1 1/1 5/2023                                                                             [
                                                                                               Server’s signature
                                                                                                                            .-L
                                                                      Juan de los Santos. New York Process Server No. 2067123
                                                                                           Printed rrarrre arId tit ie


                                                                                      54 Bristol Street. Suite 7F
                                                                                      Brooklyn, New York 1 1212

                                                                                               Server’s address



aFiWB99PAdaMlbYbr£F89®)?F#pYt§888BkRe%br                      Avenue, Bronx, New York 10466(a private house), I served
the within summons in a civil action, civil cover sheet, verified complaint with jury trial demand, and Exhibit P1, in this
matter, on Dwight Sibblies, Defendant, by delivering true copies of each to Renae Sibblies, wife and co-tenant, who
indicated that she was authorized to accept process on behalf of said Defendant, On November 15, 2023, 1 also mailed
true copies of the said pleadings and court documents to said Defendant at the above address, in first class post-paid,
properly addressed envelopes, by regular mail and by certified mail (United States Postal Service receipt number 7022
0410 0000 7731 3502, which is attached to this proof of service).


                                                                                                                 Brooklvn. Ny 1 1910
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                                        U.S. Postal Service"
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